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 1
                                                        THE HONORABLE RICHARD A. JONES
 2
 3
 4
 5                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 6
                                        AT SEATTLE
 7
      UNITED STATES OF AMERICA,
 8
                                                       NO. CR18-092RAJ
                                  Plaintiff,
 9
10
                       v.
                                                       ORDER CONTINUING TRIAL DATE
11
                                                       AND SETTING AMENDED CASE
      BERNARD ROSS HANSEN and
12                                                     SCHEDULE
      DIANE RENEE ERDMANN,
13
                                    Defendants.
14
15
16         THIS MATTER comes before the Court upon the joint motion of Defendants to

17 continue the trial date and all remaining pretrial deadlines made orally at the telephonic status
18 hearing held on September 11, 2020. For the reasons set forth on the record, the Court
19 GRANTS Defendants’ motion to continue the trial date and remaining pretrial deadlines and
20 enters the following amended scheduling order:
21
22       Event                                                       Deadline/Date
23
        Parties to provide rebuttal expert disclosures (if any)      November 2, 2020
24
25      Hansen deadline to file additional Pretrial Motions (if
        any): Responses due November 20, 2020; Reply briefs
26                                                                   November 6, 2020
        due November 27, 2020; Noting Date: November 27,
27      2020

28
     ORDER CONTINUING TRIAL DATE
     AND SETTING AMENDED CASE SCHEDULE - 1
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1
        Event                                                      Deadline/Date
2
       Erdmann deadline to file Pretrial Motions:
3      Responses due November 20, 2020; Reply briefs due           November 6, 2020
4      November 27, 2020; Noting Date: November 27, 2020
5      Parties to file motions in limine and any motions re:
6      404(b), inextricably intertwined evidence, and jury
       selection. Responses due November 20, 2020;                 November 6, 2020
7      (Pursuant to CrR 23,2, no Reply briefs are permitted
8      unless requested); Noting Date: November 27, 2020

9      Status Hearing/Hearing on Pretrial Motions and
                                                                   December 11, 2020, 9:00 a.m.
       Motions in Limine
10
11     Government to produce Jencks Act Statements, with
                                                                   December 18, 2020
       continuing obligation as set forth in Rule 16(c)
12
       Preliminary Disclosure of Defendants’ Proposed
13
       Witnesses and Trial Exhibits for defense case-in-chief      December 24, 2020
14     (non-binding and subject to amendment)
15     Government’s witness list and exhibit list (with bates
16     numbers provided to defense) related to its case-in-
       chief; Government to produce Rule 26.2 materials and        January 18, 2021
17     Giglio impeachment materials, with continuing
18     obligation as set forth in Rule 16(c)
19     Status Hearing                                              January 22, 2021, 9:00 a.m.
20
       Preliminary Disclosure of Government’s Proposed
21     Charts and Summaries (non-binding and subject to            January 25, 2021
       amendment)
22
23     Defendants’ witness list and exhibit list related to its
       case-in-chief; Defendants to produce Jencks Act and
24                                                                 February 1, 2021
       Rule 26.2 materials, with continuing obligation as set
25     forth in Rule 16(c)
26     Parties to file Trial Briefs, Proposed Jury Instructions,
                                                                   February 8, 2021
27     Voir Dire, and Verdict Forms

28
     ORDER CONTINUING TRIAL DATE
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 1
         Event                                                       Deadline/Date
 2
        Parties to file Exhibit Lists for cases-in-chief             February 11, 2021
 3
 4      Pretrial Conference                                          February 12, 2021, 9:00 a.m.

 5      Trial                                                        February 22, 2021, 9:00 a.m.
 6
 7
 8         IT IS FURTHER ORDERED that the period of delay from the date of this order
 9 through the new trial date of February 22, 2021, is hereby excluded for speedy trial
10 purposes under 18 U.S.C. §§ 3161(h)(7)(A) and (B).
11
12
           DATED this 11th day of September, 2020.
13
14
15
16
                                                       A
                                                       The Honorable Richard A. Jones
17                                                     United States District Judge
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28
     ORDER CONTINUING TRIAL DATE
     AND SETTING AMENDED CASE SCHEDULE - 3
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